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The following constitutes the ruling of the court and has the force and effect therein described.




Signed July 5, 2022
______________________________________________________________________




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

       In re:                                                 Chapter 11

       FRESH ACQUISITIONS, LLC, et al.,                       Case No. Case No. 21-30721 (SGJ)
                                                              (Jointly Administered)
       Debtors.



       DAVID GONZALES, TRUSTEE OF THE
       FRESH ACQUISITION LIQUIDATING
       TRUST,                                                 Adv. No. 22-03044-SGJ
                                    Plaintiff,
                                                              JUDGMENT FOR
       v.
                                                              DECLARATORY RELIEF
       PLANNED ADMINISTRATORS, INC.; JLL
       CONSULTANTS, INC., AS TRUSTEE OF
       THE BUFFETS HOLDINGS, INC. ET AL.
       LITIGATION TRUST; JLL
       CONSULTANTS, INC., AS TRUSTEE OF
       THE LITIGATION TRUST; and META
       ADVISORS, LLC, AS TRUSTEE OF THE
       UNSECURED CREDITORS’ TRUST,
                               Defendants.




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      The Plaintiff, David Gonzales, Liquidating Trustee (the “Plaintiff” or “Trustee”)
on behalf of the Fresh Acquisition Liquidating Trust (the “Trust”), filed his Complaint
for Declaratory Relief [Adversary Docket No. 1] (“Complaint”). An Entry of Default
has been entered against each of the following Defendants: (a) JLL
CONSULTANTS, INC., AS TRUSTEE OF THE BUFFETS HOLDINGS, INC. ET AL.
LITIGATION TRUST; (b) META ADVISORS, LLC, AS TRUSTEE OF THE
UNSECURED CREDITORS’ TRUST; and (c) JLL CONSULTANTS, INC., AS
TRUSTEE OF THE LITIGATION TRUST (Adversary Docket Nos. 17, 18, and 19).
The remaining Defendant, PLANNED ADMINISTRATORS, INC. (“PAI”), has
stipulated and agreed to the entry of this Judgment for Declaratory Relief [Adversary
Docket No. 20].
      The Court finds that:
      1.     This Court has subject matter jurisdiction over this adversary
proceeding, which arises under Title 11 of the United States Code (the “Bankruptcy
Code”) and arises in and relates to a case under the Bankruptcy Code pending in
the United States Bankruptcy Court for the Northern District of Texas, In re Fresh
Acquisitions, LLC, et al. (collectively “Debtors”), Case No. 21-30721 (SGJ) (Jointly
Administered), under 28 U.S.C. §§ 157(b)(2) & 1334 (“Bankruptcy Case”).
      2.     This is a core proceeding under 28 U.S.C. § 157(b). Plaintiff and PAI
have consented to entry of a final judgment by this Court with respect to the
allegations and matters presented in the Complaint for Declaratory Relief
[Adversary Docket No. 1] (“Complaint”).
      3.     Declaratory relief is appropriate pursuant to Bankruptcy Rule 7001 and
the Declaratory Judgment Act, 28 U.S.C. § 2201.
      4.     Pursuant to the Plan and Confirmation Order (each as defined below),
this Court retained jurisdiction after the Effective Date (as defined below), (a) as to


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all proceedings and other matters arising in or relating to this Bankruptcy Case,
including any adversary proceeding commenced after the Effective Date, and (b) in
order to hear and determine any rights held by or accruing to the Trust pursuant to
the Plan (as defined below), this Bankruptcy Case, or pursuant to any federal or
state statute or legal theory.
      5.     The Trust was formed as of January 3, 2022, which was the Effective
Date (“Effective Date”) of The Official Committee of Unsecured Creditors’ First
Amended Joint Chapter 11 Plan of Liquidation filed on October 30, 2021 (the
“Plan”), [Administrative Docket No. 498], which was confirmed pursuant to the
Findings of Fact, Conclusions of Law, and Order (I) Approving Disclosure
Statement on a Final Basis and (II) Confirming The Official Committee of
Unsecured Creditors’ First Amended Joint Chapter 11 Plan of Liquidation entered
on December 12, 2021 (“Confirmation Order”) [Administrative Docket No. 587].
      6.     In accordance with the terms of the Plan and the Confirmation Order,
on the Effective Date, the Trustee was granted the rights and powers of a debtor in
possession under Bankruptcy Code Section 1107 and such other powers, rights,
and duties to effectuate the provisions of the Plan.
      7.     In addition, in accordance with the terms of the Plan, the Confirmation
Order, and the First Acquisition Liquidating Trust Agreement (“Trust Agreement”)
[Administrative Docket No. 499], on the Effective Date, (a) all causes of action of
the Debtors were vested in the Trust and the Trustee was conferred with standing
to bring and prosecute the causes of action vested and transferred to the Trust on
behalf of the Trust; and (b) all of the Debtors’ assets as provided in Section 541of
the Bankruptcy Code were transferred to and vested in the Trust (“Liquidating Trust
Assets”).
      8.     The monies that are the subject of the Complaint are part of the


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Liquidating Trust Assets.
      9.     Effective as of January 1, 2006, Ryan’s Restaurant Group, Inc.
(“Ryan’s Restaurant Inc.”) and Defendant PAI entered into an Administrative
Services Only (ASO) Agreement (“Services Agreement”), pursuant to which PAI
agreed to provide administration and claims services for the self-insured general
medical and other welfare benefit plans created by Ryan’s Restaurant Inc. for
certain of its employees. All or a portion of Ryan’s Restaurant Inc.’s rights under
the Services Agreement were subsequently assigned to one or more of the
Debtors in this Bankruptcy Case.
      10.    Prior to the Effective Date, the Debtors and the Trustee were advised
by PAI that there was a Credit Balance of $98,657.93 being held by PAI that had
accumulated during and after the term of the Services Agreement (“Credit
Balance”).
      11.    PAI claims no right or interest in the Credit Balance and seeks to have
the Credit Balance paid to the proper party. No party to the Complaint, except for
the Trustee, has claimed any right or interest in the Credit Balance.
      12.    An actual legal and substantial controversy exists between the parties
regarding whether the Credit Balance was property of this Bankruptcy Case under
Section 541 of the Bankruptcy Code and is now part of Liquidating Trust Assets.
That controversy is of sufficient immediacy to warrant judicial relief under the
Declaratory Judgment Act, 28 U.S.C. §§ 2201-2.
      13.    All rights, claims, and interests under the Services Agreement and in
and to the Credit Balance were property of this Bankruptcy Case under Section
541 of the Bankruptcy Code and are now part of Liquidating Trust Assets
      14.    Accordingly, the Plaintiff is entitled to a declaratory judgment declaring
the rights and other legal relationships of the interested parties that: (a) the Credit


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Balance is part of the Liquidating Trust Assets being administered by the Trustee
pursuant to the Plan and Confirmation Order, (b) PAI be authorized and directed to
pay the Credit Balance to the Plaintiff as Trustee of the Trust, and (c) none of the
Defendants have any right, title, claim, or interest in or to the Credit Balance.
      NOW, THEREFORE, IT IS ORDERED:
      A.     The relief sought by the Complaint is granted;
      B.     All rights, claims, and interests under the Services Agreement and in
and to the Credit Balance are property of this Bankruptcy Case under Section 541
of the Bankruptcy Code and are now part of Liquidating Trust Assets being
administered by the Trustee pursuant to the Plan and Confirmation Order;
      C.     None of the Defendants have any right, title, claim, or interest in and to
the Credit Balance; and
      D.     PAI is authorized and directed to pay the Credit Balance to the Plaintiff
as Trustee of the Trust.


                             # # # END OF ORDER # # #




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